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     BANK OF AMERICA, N.A.
 8
 9                                    UNITED STATES DISTRICT COURT

10                       CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

11
12 YI AND YI CO., LTD., a California                        Case No. 2:22-cv-02528
     corporation; CHUNCHAO ZHOU,
13                                                          [Formerly Superior Court of California,
                        Plaintiffs,                         County of Los Angeles Case No.
14                                                          22STCV07903]
               vs.
15                                                          DEFENDANT BANK OF AMERICA,
   BANK OF AMERICA, N.A.; and DOES 1 to                     N.A.’S NOTICE OF REMOVAL TO
16 50, inclusive,                                           FEDERAL COURT

17                      Defendants.

18
19            TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT

20 OF CALIFORNIA AND ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
21            PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1441 and 1446, defendant Bank of

22 America, N.A. (“Bank of America”) hereby removes the above-captioned action from the Superior
23 Court of the State of California, in the County of Los Angeles, to the United States District Court
24 for the Central District of California, Western Division.
25            Bank of America is entitled to removal pursuant to 28 U.S.C. § 1332(a), based on diversity

26 of citizenship, as follows:
27            1.        Plaintiffs Yi and Yi Co. Ltd. and Chunchao Zhou (“Plaintiffs”) filed a civil action

28 in the Los Angeles County Superior Court on March 4, 2022, entitled Yi and Yi Co. LTD., a

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                DEFENDANT BANK OF AMERICA, N.A.’S NOTICE OF REMOVAL TO FEDERAL COURT
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 1 California corporation; Chunchao Zhou v. Bank of America, N.A., case number 22STCV07903
 2 (the “State Court Action”). Plaintiffs served Bank of America with summons in the State Court
 3 Action on March 15, 2022. Plaintiffs asserts three claims in the State Court Action against Bank of
 4 America: (1) conversion; (2) negligence under Commercial Code section 3103; and (3) negligence
 5 under Commercial Code section 3405. Pursuant to 28 U.S.C. § 1446(a), a copy of all process,
 6 pleadings, and orders served upon or by Bank of America in the State Court Action are attached
 7 hereto as Exhibit 1.
 8            2.        This notice of removal is timely under 28 U.S.C. § 1446(b) and Fed. R. Civ. P. 6(a)

 9 because it is filed within 30 days of March 15, 2022, when Plaintiff served Bank of America with
10 the Summons and Complaint.
11            3.        This Court has subject matter jurisdiction over this action and all claims asserted

12 against Bank of America pursuant to 28 U.S.C. § 1332(a), and removal is proper pursuant to 28
13 U.S.C. § 1441.
14            4.        Venue in this Court is proper pursuant to 28 U.S.C. §§ 84(c) and 1441(a) because

15 the United States District Court for the Central District of California is the federal judicial district
16 and division embracing the Superior Court of California for the County of Los Angeles, where the
17 State Court Action was filed.
18            5.        Pursuant to 28 U.S.C. §§ 1446(d), Bank of America is filing this notice of removal

19 with this Court, serving a copy of this notice upon Plaintiff, and filing a copy in the Superior Court
20 of California for the County of Los Angeles.
21            6.        There are no other defendants named in the Complaint. See Exhibit 1. Accordingly,

22 no other defendants are required to join the notice of removal.
23                                            Diversity of Citizenship

24            7.        This Court has jurisdiction of this case under 28 U.S.C. § 1332 and it is an action

25 that may be removed to this Court pursuant to 28 U.S.C. § 1441(b) because it is a civil action
26 between citizens of different states and involves an amount in controversy that exceeds the sum or
27 value of $75,000, exclusive of costs and interest.
28            8.        Plaintiff Yi and Yi Co. Ltd. is and was at all time relevant a corporation organized

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        DEFENDANT PORSCHE FINANCIAL SERVICES, INC.’S NOTICE OF REMOVAL TO FEDERAL COURT
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 1 under the laws of California with its principal place of business in Los Angeles, California. See
 2 Complaint ¶ 1. Accordingly, Plaintiff Yi and Yi Co. Ltd. is a citizen of the State of California.
 3            9.        Plaintiff Chunchao Zhou is and was at all times relevant an individual residing in

 4 the County of Los Angeles, California. See Complaint ¶ 2. Accordingly, Plaintiff Chunchao Zhou
 5 is a citizen of the State of California.
 6            10.       Defendant Bank of America, N.A. is and at all times relevant was a citizen of the

 7 state of North Carolina, with its main office in North Carolina, as established by its articles of
 8 association. See Exhibit 2 (Articles of Association; FDIC BankFind Search Detail).
 9            11.       There are no other defendants named in the Complaint. See Exhibit 1 (Complaint).

10            12.       Accordingly, the citizenship of the parties to this action is completely diverse.

11                                            Amount in Controversy

12            13.       For diversity jurisdiction to exist, the amount in controversy must exceed $75,000,

13 exclusive of interest and costs. 28 U.S.C. § 1332(a).
14            14.       Plaintiffs seek in excess of $75,000.00 in this action. The Complaint seeks to

15 recover in excess of $86,491.60, which is Plaintiffs’ present estimate of their suffered losses as a
16 result of the alleged conduct, as well as prejudgment interest and punitive damages. See Exhibit 1
17 (Complaint Prayer ¶¶ 1-3). Accordingly, the amount in controversy requirement is satisfied. See
18 28 U.S.C. § 1332(a).
19            WHEREFORE, Bank of America hereby removes Los Angeles County Superior Court

20 Case No. 22STCV07903 to the United States District Court, Central District of California. Bank
21 of America prays that this Court assumes jurisdiction over the action and determine it on the
22 merits.
23 DATED: April 14, 2022                            SEVERSON & WERSON
                                                    A Professional Corporation
24
                                                    By:          /s/ Austin B. Kenney
25                                                                    AUSTIN B. KENNEY
26
                                                    Attorneys for Defendant
27                                                  BANK OF AMERICA, N.A.

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